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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                      DUELIN DIVISION




                                                   ★
DESIREE BENNETT,

                                                   ★
        Plaintiff,
                                                   'k


                                                   'k
        V.                                                        CV 319-078
                                                   kr


                                                   *
CALEB WIGGINS and JASON
                                                   *
HOWELL,
                                                   ■k


                                                   *•
        Defendants.




                                         ORDER




                                        Plaintiff and Defendants filed a
                                                                                              w

        On January 19,        2021,                                                               Joint

                                                              n

Stipulation of Dismissal With Prejudice                            because the parties have

reached      a   settlemenr.      In     accordance           with    Federal    Rule    of       Civil


Procedure        41(a) (1) (A) (ii) ,    IT   IS        ORDERED    that   Plaintiff's         claims


against Defendants are hereby DISMISSED WITH PREJUDICE.                                 The       Clerk


is   directed       to    CLOSE   this    case          and   TERMINATE       all   motions         and


deadlines.         Each party shall bear their own costs.

        ORDER ENTERED at Augusta,             Georgia,         this             day of January,

2021.




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                                                         UNITED      STATES   DISTRICT    JUDGE
